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           IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                            BALTIMORE DIVISION


RON L. LACKS, PERSONAL
REPRESENTATIVE OF THE ESTATE OF
HENRIETTA LACKS
5409 Daywalt Avenue
Baltimore, Maryland 21206
                                                            Civil Case No.: ___
      PLAINTIFF

VS-

NOVARTIS PHARMACEUTICALS
CORPORATION,
59 Route 10
East Hanover, New Jersey 07936,

Serve: Corporation Service Company
84 State Street
Boston, MA 02109

NOVARTIS GENE THERAPIES INC.
2275 Half Day Road, Suite 203
Bannockburn Illinois 60015,

Serve: Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

VIATRIS INC.
1000 Mylan Blvd.
Canonsburg, PA 15317, and

Serve:The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

MYLAN PHARMACEUTICALS.
1000 Mylan Blvd.
Canonsburg, PA 15317

Serve: C T Corporation
600 North 2nd Street



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 Suite 401
 Harrisburg, Pennsylvania 17101


     DEFENDANTS




                CIVIL COMPLAINT AND REQUEST FOR JURY TRIAL

       Plaintiff Ron L. Lacks, personal representative of the Estate of Henrietta Lacks, by and

through his undersigned counsel, brings this Complaint against Defendants Novartis

Pharmaceuticals Corporation and Novartis Gene Therapies Inc. (collectively “Novartis”), and

Viatris Inc. (“Viatris”) and its subsidiary Mylan Pharmaceuticals (“Mylan”) and states as follows:




                                      INTRODUCTION

       1.      This case is about multibillion-dollar biopharmaceutical corporations Novartis

Pharmaceuticals Corporation, Novartis Gene Therapies Inc., Viatris Inc., and through its

associated subsidiary, Mylan Pharmaceuticals (collectively “Defendants”), making conscious

choices to commercialize the living genetic material of Henrietta Lacks, a Black woman,

grandmother, and community leader, despite the corporations’ knowledge that Mrs. Lacks’s tissue

was taken from her without her consent or knowledge by physicians at Johns Hopkins Hospital.

Defendants have reaped massive profits by exploiting Mrs. Lacks’s cells as a biological factory to

create and patent new drugs.

       2.      Medical research has a long, troubled racial history. The exploitation of Henrietta

Lacks represents the unfortunately common struggle experienced by Black people throughout



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American history. Indeed, Black suffering has fueled innumerable medical progress and profit,

without just compensation or recognition. Various documented and undocumented studies have

thrived off the dehumanization of Black people.

       3.      In the 1950s, a group of white physicians at Johns Hopkins preyed on Black women

with cervical cancer. While treating Black women in racially segregated wards, white physicians

would cut away tissue samples from their patients’ cervixes without their patients’ knowledge or

consent (informed or otherwise). A leading figure in this unseemly and unlawful practice—Dr.

George Gey, then head of tissue culture research at Johns Hopkins—once proclaimed himself “the

world’s most famous vulture, feeding on human specimens almost constantly.”

       4.      Tissue samples were not taken for purposes of genuine medical treatment.

       5.      Henrietta Lacks was one of the victims of this misconduct. Mrs. Lacks was admitted

to the racially segregated ward at Johns Hopkins Hospital—one of the only hospitals that would

treat Black patients—for a malignant tumor on her cervix. On February 5, 1951, during a surgical

procedure and with her under anesthesia, a white physician at Johns Hopkins used a sharp knife to

cut two parts of Mrs. Lacks’s cervix away under the guise of treating her cervical cancer with

radium. This surgical procedure to harvest Mrs. Lacks’s tissue was not medically necessary and

was not an operation to which Mrs. Lacks had consented. Nor was she warned about the risks of

the aggressive course of treatment she was subjected to, which left her infertile. Months later, when

Mrs. Lacks was told that the course of treatment for her cancer had left her infertile, she stated

clearly that she would never have agreed to be treated had she been informed of the risk of

infertility. Moreover, the “treatment” was completely ineffective. Henrietta Lacks ultimately died

of cervical cancer on October 4, 1951.




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        6.      The cells taken from Henrietta Lacks have unique properties. While most cell

samples die shortly after they are removed from the body, Mrs. Lacks’s cells survived and

reproduced in the laboratory. This exceptional quality meant that it was possible to cultivate Mrs.

Lacks’s cells into a cell line that could reproduce indefinitely in laboratory conditions—an

immortal cell line. Indeed, Mrs. Lacks’s cells were the first known immortalized human cell line.

Medical researchers refer to Henrietta Lacks’s cultivated cell line as the HeLa cell line, using the

first letters of Mrs. Lacks’s first and last names.

        7.      While it was not known for decades to medical researchers outside Johns Hopkins

that HeLa cells were Mrs. Lacks’s cells, upon information and belief, it was well understood within

the scientific community that the cell line was the product of non-therapeutic medical

experimentation on Black patients by physicians at Johns Hopkins.

        8.      Medical researchers used HeLa cells to develop a huge number of scientific and

medical innovations, including the polio vaccine, gene-mapping, in vitro fertilization, and many

more. The HeLa cell line is one of the most important and widely used cell lines in human history.

But Henrietta Lacks was never told why her tissue was taken and never gave permission for her

cells to be used as they have been.

        9.      Novartis is a pharmaceutical behemoth that has amassed substantial profits through

its use of the HeLa cell line. It owns hundreds of patents developed through use of the HeLa cell

line. In leveraging patents, Novartis has utilized Mrs. Lacks’s genetic material extensively as a

fundamental component in their research and development processes. By using these cells,

Novartis can efficiently test and refine their pharmaceutical compounds, accelerating the

development of new drugs.




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       10.     Novartis’s cultivation of Mrs. Lacks’s cells is despite the fact the company is well

aware—and has been at all relevant times—of the wrongful origins of the Hela cell line. Novartis

has even acknowledged on its own company’s website “the story of Henrietta Lacks, whose

cervical cancer cells were surreptitiously commercialized for research purposes without her

knowledge.”

       11.     Novartis has extensively developed and commercialized HeLa cell lines to secure

intellectual property rights that underpin its market presence, generating substantial profits that

would not have been possible without Henrietta Lacks’ cells. Novartis was aware that these cells

were taken without consent. Despite this, Novartis never sought or received permission from the

Estate of Henrietta Lacks to use her cells, treating them as mere tools or resources.

       12.     Viatris, formed through the merger of Mylan Pharmaceuticals and Upjohn, is a

global pharmaceutical giant that has capitalized and profited from Mylan Pharmaceuticals’ vast

drug portfolio developed through its use of HeLa cells.

       13.     In creating Mylan’s extensive drug portfolio, Mylan, and now Viatris, have heavily

relied on Mrs. Lacks’s genetic material as a crucial element in their research and development

activities. By incorporating these cells, the Defendants can effectively test and enhance their

pharmaceutical compounds, expediting the development of new medications.

       14.     Defendants’ cultivation of Mrs. Lacks’s cells is ongoing despite the fact the

company is well aware—and has been at all relevant times—of the wrongful origins of the Hela

cell line. Viatris’ former Chief Executive Officer, Michael Goettler, has previously posted on

LinkedIn, acknowledging “it is medically and scientifically fascinating how one woman's cells

have been so pivotal in countless #research and contributed to the development of so many




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significant drugs…. The experiences of people like Henrietta Lacks … continue to leave emotional

wounds in the Black community in the United States.”

       15.      Viatris and Mylan have extensively researched, developed, and commercialized

products using HeLa cell lines, which have been integral to their market presence and profitability.

By leveraging the unique properties of HeLa cells for various scientific and pharmaceutical

applications, they have been able to accelerate the development and refinement of numerous drugs.

These advancements have significantly contributed to their revenue streams. Viatris and Mylan

were aware that HeLa cells were originally taken without consent. Despite this, they never sought

or received permission from the Estate of Henrietta Lacks to use her cells, treating them as mere

tools or resources for their commercial gain.

       16.     Defendants’ choice to continue utilizing HeLa cells despite the cell lines’ origin

and the concrete harms it inflicts on the Lacks family can only be understood as a choice to

embrace a legacy of racial injustice embedded in the US research and medical systems. Like

anyone else, Black people have the right to control their bodies. Yet, the Defendants treat Henrietta

Lacks’ living cells as mere chattel to be manipulated without regard to the profound detrimental

impact on the Lacks family.

       17.     Plaintiff brings a single cause of action—for unjust enrichment—against Novartis

Pharmaceuticals Corporation, Novartis Gene Therapies Inc., Viatris Inc., and Mylan

Pharmaceuticals for their choice to profit from the unlawful conduct of Johns Hopkins’ physicians.

Under settled law, as articulated in the Restatement of Restitution, Third, “a defendant who is

enriched by misconduct and who acts with knowledge of the underlying wrong to the claimant” is

a conscious wrongdoer liable for its profits. Restatement (Third) of Restitution and Unjust




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Enrichment § 51(3) (2011). Put simply, because it made the conscious choice to profit from the

assault of Henrietta Lacks, Novartis’s ill-gotten gains rightfully belong to Mrs. Lacks’s Estate.

                                               PARTIES

        18.      Henrietta Lacks was a natural person, resident of Baltimore County, Maryland, and

citizen of the state of Maryland. The executor and personal representative of Mrs. Lacks’s Estate

is Ron L. Lacks, Mrs. Lacks’s grandson. Mrs. Lacks is a natural person, resident of Baltimore

County, Maryland, and citizen of the state of Maryland.

        19.      Novartis Pharmaceuticals Corporation is incorporated under the laws of the State

of Delaware. It is headquartered in East Hanover, New Jersey. As used in this complaint,

“Novartis” refers both to Pharmaceuticals Corporation. and to its subsidiaries, affiliates, agents,

and other entities within its control that have owned, manufactured, distributed, monitored, or sold

HeLa cells or related products. Novartis registered to do business in Maryland on March 20, 1997.

Novartis’s Maryland registration was forfeited for failure to file a property return for 2018.

        20.      Novartis Pharmaceuticals Corporation is responsible for the development,

manufacturing, and marketing of Novartis’s parent company’s prescription medications within the

United States.

        21.      Novartis Gene Therapies, Inc. is incorporated under the laws of the State of

Delaware. It is headquartered in Bannockburn, Illinois. It has never been registered to do business

in Maryland.

        22.      Novartis’s parent company is traded on the New York Stock Exchange. It has a

market capitalization of $215 billion. In 2023, Novartis’s parent company disclosed in its year-end

report that net sales totaled $45.4 billion.




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       23.     Viatris Inc. is a Delaware corporation headquartered in Canonsburg, Pennsylvania

As used in this complaint, “Viatris” refers both to Viatris Inc. and to its subsidiaries, affiliates,

agents, and other entities within its control that have owned, manufactured, distributed, monitored,

or sold HeLa cells or related products

       24.     Viatris Inc. is responsible for the development, manufacturing, and marketing of

prescription medications within the United States. It has never been registered to do business in

Maryland.

       25.     Viatris was formed through the merger of Mylan Pharmaceuticals and Upjohn.

Through this process, Mylan Pharmaceuticals ceased to be an independent entity and was

effectively absorbed into Viatris, becoming a subsidiary under its control.

                                 JURISDICTION AND VENUE

       26.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332, based upon diversity of citizenship in that Plaintiff is not from the same state as the

Defendant, and the amount in controversy exceeds $75,000.

       27.     Venue is proper under 28 U.S.C. § 1391 because a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this District.

       28.     Novartis recruits patients and conducts clinical trials in Maryland. According to

clinicaltrials.gov, Novartis has conducted or is conducting 291 clinical trials with locations in

Maryland. Novartis offers Health Economics & Outcomes Research (HEOR) and Medical Access

Fellowship positions at the University of Maryland, Department of Pharmaceutical Health

Services Research in Baltimore, Maryland. Novartis Gene Therapies likewise conducts clinical

trials in Maryland.




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       29.     Novartis Gene Therapies partners with Catalent Cell and Gene Therapy to

manufacture its flagship product, Zolgensma, at Catalent’s 350,000 square feet commercial

manufacturing center in Harmans, Maryland. Under the terms of this partnership, Novartis Gene

Therapies is entitled to dedicated space at Catalent’s manufacturing facility to manufacture

Zolgensma.

       30.     Novartis Gene Therapies maintains a collaborative relationship with Regenxbio, a

Maryland-based corporation centered around the development and commercialization of gene

therapies. Zolgensma, Novartis’ flagship gene therapy for the treatment of spinal muscular

atrophy, relies on Regenxbio’s proprietary NAV technology and its adeno-associated virus (AAV)

AAV9 vector. Novartis Gene Therapies also holds an exclusive, worldwide license from

Regenxbio for any recombinant AAV vector in its intellectual property portfolio for the in vivo

gene therapy treatment of spinal muscular atrophy.

       31.     Novartis also has a number of employees, including marketing personnel and

researchers, who are based out of Maryland, who conduct research in Maryland and who market

the company’s products to Maryland physicians. In December of 2020, Novartis had between 50

and 150 employees in Maryland. This substantial presence in Maryland continues to the present.

       32.     As part of its marketing efforts to Maryland physicians, Novartis pays substantial

sums to Maryland physicians. In 2022 alone, Novartis paid $82,910 in consulting fees to Maryland

physicians and $10,265 to non-physician practitioners. Its parent company, Novartis AG, paid

some $11,625 to Maryland physicians in the same period.

       33.     In 2020, Novartis agreed to settle a lawsuit for $678 million brought by several

states, including Maryland, over allegations of that Novartis violated federal False Claims Act and

Anti-Kickback Statute by providing doctors with cash payments, recreational outings, lavish




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meals, and expensive alcohol to induce them to prescribe Novartis cardiovascular and diabetes

drugs. As part of the settlement, Novartis admitted and accepted responsibility for certain conduct

alleged by the Government including a 2008 speaker program held in Pikesville, Maryland, with

only one doctor in the audience in the audience for the speaker’s presentation, at which it spent

$448 per person on food and alcohol, in addition to the $1,000 honorarium payment provided to

the speaker.

       34.     Novartis (and Novartis Gene Therapies) go to such lengths to promote their

products in Maryland because they sell substantial amounts of their products in Maryland.

       35.     Novartis has further purposefully availed itself to this forum by commercializing

for profit HeLa cells despite its knowledge that the cells were obtained in Baltimore County,

Maryland, through the deeply unethical and unlawful conduct described in this complaint.

       36.     Viatris recruits patients and conducts clinical trials in Maryland. According to

clinicaltrials.gov, Viatris has conducted or is conducting 50 clinical trials with locations in

Maryland. Viatris offers its “Viatris Excellence in Pharmacy Award” to students at University of

Maryland School of Pharmacy. Mylan Pharmaceuticals has likewise conducted clinical trials in

Maryland.

       37.     According to a database maintained by the Drug Enforcement Administration,

Mylan Pharmaceutical manufactured over 8.4 million opioid pain pills that were distributed in

Maryland between 2006 and 2019.

       38.     Since November 2021, Viatris has spent over $142,000 on lobbying efforts in

Maryland. Viatris also partners with Comfort Cases, a 501(c)3 non-profit organization

headquartered in Rockville, Maryland.




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       39.     Viatris has a number of employees, including marketing personnel and researchers,

who are based out of Maryland, who conduct research in Maryland and who market the company’s

products to Maryland physicians.

       40.     In 2022, Mylan Specialty, a subsidiary of Viatris, paid 149 doctors who practice in

Maryland to advertise

       41.     Viatris has further purposefully availed itself to this forum by commercializing for

profit HeLa cells despite its knowledge that the cells were obtained in Baltimore County,

Maryland, through the deeply unethical and unlawful conduct described in this complaint.

                                                FACTS

       42.     In 1951, the chair of gynecology at Johns Hopkins—Dr. Richard Wesley

TeLinde—faced widespread criticism for his practice of frequently removing the cervix, uterus,

and substantial portions of the vagina of patients with carcinoma in situ, a condition not believed

to be deadly at the time.

       43.     TeLinde believed that by showing that carcinoma in situ behaved similarly to other

forms of cervical cancer that were known to be deadly in the laboratory, he would be able to prove

his aggressive surgical techniques were justified, and thus repair his tarnished reputation. TeLinde

thus proposed to Dr. George Gey, then head of tissue research at Johns Hopkins, that TeLinde

would provide samples of cervical cancer, taken from his patients without their knowledge or

consent to Gey, if Gey would use those samples in his research and attempt to cultivate those cells

in a form that could survive in a laboratory.

       44.     TeLinde’s offer meshed well with Gey’s research interests. Virtually all human cell

samples at the time died quickly in laboratory conditions. Gey wanted to attempt to cultivate a cell

line that would be able to survive indefinitely in a lab—an immortal cell line. Gey had little




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understanding of why human cells died in laboratory conditions. He tried repeating the process of

creating human cell samples that could survive in laboratory conditions over and over again—a

process that required more and more samples. TeLinde’s proposal of an endless supply of samples

thus suited Gey perfectly, and he agreed to the deal.

       45.     To get Gey samples, TeLinde directed the physicians under his supervision to take

tissue samples from Black patients in Johns Hopkins’ segregated wards who were suffering from

cervical cancer. While treating Black women in racially segregated wards, the white physicians

under TeLinde’s supervision would cut away tissue samples from their patients’ cervixes without

their patients’ knowledge or consent. As one physician acting under TeLinde’s supervision

callously observed, “Hopkins, with its large indigent [B]lack population, had no dearth of clinical

material.”

       46.     This horrifying dehumanization of Black patients and abuse of trust sadly had all

too much precedent in then-recent medical history. At the same time as TeLinde and Gey

concocted their scheme, the U.S. Public Health Service, working with the Tuskegee Institute in

Macon, Alabama, denied hundreds of Black men widely available treatment for syphilis to enable

them to study how the disease progressed when untreated. By the time this abusive study was

disclosed to the public in July 1972, 28 participants had died from syphilis, 100 more had passed

away from related complications, at least 40 spouses had been diagnosed with it, and the disease

had been passed to 19 children at birth.

       47.     The list of abuses is long. Another example is the medical practice known as the

“Mississippi Appendectomy” beginning in the 1920s. The Mississippi Appendectomy was the

systematic forced sterilization of poor Black women without the women’s knowledge or consent.

Physicians performed the hysterectomies under the pretense of appendectomies in order to prevent




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poor Black women from reproducing and to give young, inexperienced physicians the opportunity

to practice the hysterectomy procedure. These sterilizations reflected a blatant disregard for basic

human rights.

       48.      Similarly, during the Second World War, the United States tested mustard gas and

other chemical agents on Black men, and then threatened the soldiers who complained with prison

time to keep them quiet. Too often, the history of medical experimentation in the United States has

been the history of medical racism.

       49.      In January 1951, Henrietta Lacks was diagnosed with cervical cancer at Johns

Hopkins.

       50.      Henrietta Lacks’s treating physician—acting under TeLinde’s supervision—

recommended an aggressive course of treatment: inserting rods of radium, a radioactive substance,

into her body. This treatment approach required that Mrs. Lacks be placed under general

anesthesia—providing an opportunity for a surgeon working for TeLinde to collect the tissue

samples from Mrs. Lacks. This procedure was also certain to render Mrs. Lacks infertile.

       51.      Henrietta Lacks was not informed that Johns Hopkins planned to take samples of

her cervix. She did not consent to this surgical procedure or any such sampling. Taking a tissue

sample is not medically necessary to conduct radium treatment, nor was it common practice in

radium treatment at the time. Mrs. Lacks was also not told that the radium treatment she would be

subjected to would render her infertile.

       52.      On February 5, 1951, while Henrietta Lacks was unconscious, a surgeon working

under TeLinde’s supervision cut two circular samples of tissue, each about three-quarters of an

inch across, from her cervix. These samples were then given to Gey for experimentation.




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        53.    Gey then attempted, once again, to create a cell line that could survive in laboratory

conditions. Gey’s efforts in cultivating the HeLa cell line were not meaningfully different than his

prior, failed efforts. Unknown to Gey, however—and for reasons that the scientific community

would not come to understand until decades later—Mrs. Lacks’s cells had unique properties that

meant they were able to survive in laboratory conditions. Gey was finally able to create the

immortal cell line he had craved.

        54.    As Gey worked to cultivate the stolen cells, Henrietta Lacks died of cervical cancer

on October 4, 1951. She was buried in an unmarked grave.

        55.    Indeed, around the same time that Henrietta Lacks passed away, Gey appeared on

television, holding a vial of Mrs. Lacks’s cells, to present his purported contribution to the fight

against cancer. Gey introduced to the world the first successfully grown “immortal” human cell

line.

        56.    Scientists all over the world were given HeLa cells for free to conduct their own

studies. Because HeLa cells were the first human cells that could survive indefinitely in laboratory

conditions, scientists were able to use them for medical research that might well not have been

possible without them. In the decades that followed, the HeLa cell line became an essential

resource for medical research in labs worldwide. HeLa cell tissue was used to test the first polio

vaccine, to understand the effects of radiation on human cells, to develop treatment for sickle cell

anemia, and in countless scientific papers.

        57.    Despite the widespread use of HeLa cells, for decades, the facts surrounding the

origin of the HeLa cell line were unknown. Gey and Johns Hopkins went to great lengths to keep

the origins of the HeLa cell line secret. As a result, for decades, the global scientific and medical

communities were unaware that the HeLa cell line was the product of the assault of Henrietta




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Lacks. Indeed, for many years, even Henrietta Lacks’s real name was not known to the public—

Gey claimed the cells came from a person named Helen Lane, so as to conceal the cells’ true origin.

       58.     Nonetheless, even before it was generally known that HeLa cells were Mrs. Lacks’s

cells, upon information and belief, the scientific community knew that physicians at Johns Hopkins

performed unconsented-to non-therapeutic medical experimentation on its Black patients and

turned a blind eye to Johns Hopkins’ unlawful and tortious conduct and complete breach of trust

and confidence to its patients.

       59.     In recent years, the origins of the HeLa cell line have become widely known in the

scientific community. They have received mention in more than 2,700 academic articles discussing

issues of patient consent and medical ethics.

       60.     Novartis has publicly admitted that it is aware of the fact HeLa cells were taken

from Henrietta Lacks without her consent. The company has an informational page on its corporate

website that describes Novartis’s “holistic commitment” “that embraces equity in health” and

acknowledges that Henrietta Lacks, “cervical cancer cells were surreptitiously commercialized for

research purposes without her knowledge.” In a separate page, Patrice Matchaba, President of the

Novartis US Foundation and Head of US Corporate Responsibility at Novartis, discusses racial

healthcare gap in the US, noting “We know about Henrietta Lacks. We know the reasons for people

of color not to trust the current healthcare system.” Novartis has been aware of unjust and unethical

HeLa cell line origin since it began using Ms. Lacks’s genetic materials in the testing and

developing patents and drugs.

       61.     Despite their awareness of the origins of the HeLa cell line, Novartis made a

decision to use Henrietta Lacks’s genetic material for their own profit. Novartis has widely used

HeLa cells to conduct pharmaceutical testing of its drugs. Famvir, a Novartis antiviral medication




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used to treat infections caused by herpes viruses, was tested for their potential to cause unscheduled

DNA synthesis in HeLa 83 cells. Novartis has generated billions of dollars from its own sales of

Famvir in revenue before selling it to another pharmaceutical company. After Teva

Pharmaceuticals launched a generic version of the drug, Novartis filed a patent infringement action

and obtained an agreement in which Teva paid Novartis ongoing royalties from US sales.

       62.     Novartis developed Kymriah (tisagenlecleucel), the first FDA-approved Chimeric

Antigen Receptor T, (CAR-T) cell therapy. Novartis introduced Kymriah on the market at a price

of $475,000 for a single infusion. Extensive research and patents underlying Novartis’

development, approval, and refinement of CAR-T therapies like Kymriah.

       63.     Zolgensma is a gene therapy developed by Novartis Gene Therapies, designed to

treat spinal muscular atrophy (SMA), a severe and often fatal genetic disorder affecting infants

and young children. Zolgensma is known for its high cost, being one of the most expensive drugs

in the world. The price of a single treatment can exceed $2 million. Publicly available documents

indicate that Zolgensma was tested in vitro on HeLa cells during its development. These

documents reveal that HeLa cells were used to assess the efficacy and safety of the gene therapy.

On information and belief, Novartis Gene Therapies has used HeLa cells in its medical research

for other products.

       64.     The Novartis corporate family holds hundreds of patents that were developed using

Mrs. Lacks’s genetic materials.

       65.     Viatris’ former CEO has publicly admitted that it is aware of the fact HeLa cells

were taken from Henrietta Lacks without her consent. He posted online that “it is medically and

scientifically fascinating how one woman's cells have been so pivotal in countless

hashtag#research and contributed to the development of so many significant drugs…. The




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experiences of people like Henrietta Lacks … continue to leave emotional wounds in the Black

community in the United States.” Viatrishas been aware of unjust and unethical HeLa cell line

origin since it began using Ms. Lacks’s genetic materials in the testing and developing

        66.     Despite their awareness of the origins of the HeLa cell line, Viatris and Mylan

Pharmaceuticals made a decision to use Henrietta Lacks’s genetic material for their own profit.

Mylan Pharmaceuticals has widely used HeLa cells to conduct pharmaceutical testing of its drugs.

Denavir, formerly Mylan Pharmaceuticals’s, now Viatris’s antiviral medication used to treat cold

sores caused by the herpes simplex virus, was tested for its potential to cause unscheduled DNA

synthesis in HeLa S3 cells. Denavir cream generated $28 million in U.S. annual sales in 2021.

        67.     Likewise, Mylan-Mirtazapine, developed by Mylan Pharmaceuticals and now sold

by Viatris, is used for the treatment of major depressive disorder, and was tested for its potential

to cause unscheduled DNA synthesis assay in HeLa cells. Mylan-Mirtazapine has generated

millions of dollars in revenue. Mylan-Hydroxyurea is used with radiation for head and neck

cancers, its mechanism of hindering DNA repair in irradiated cells was theorized through HeLa

cell studies.

        68.     The Novartis corporate family holds hundreds of patents that were developed using

Mrs. Lacks’s genetic materials. Similarly, Viatris holds patents that were developed using Mrs.

Lacks’s genetic materials.

        70.     Novartis and Viatris have engaged in extensive research utilizing HeLa cells, which

have significantly fueled their respective profits. The companies’ reliance on these cells for critical

research has led to the creation of several high-value pharmaceuticals and therapies. This

dependence on HeLa cells has provided Defendants with a steady stream of innovations, driving

substantial revenue growth and securing their positions as leaders in the pharmaceutical industry.




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The use of HeLa cells has undeniably been a cornerstone of Defendants’ research initiatives,

underpinning their respective commercial successes.

       71.     In other words, Defendants actively engage in endeavors aimed at profiting from

the sale of products and services derived from Mrs. Lacks’ cellular material, develop cellular

products incorporating HeLa cells, and seek intellectual property rights on these products, staking

a claim to the genetic material of Mrs. Lacks. Defendants have appropriated Mrs. Lacks’s genetic

material solely for their pecuniary gain, all without obtaining payment, permission, or any form of

approval from the Lacks Estate or family.

       72.     In recent years, Defendants have reaped substantial financial gains through the

utilization of Ms. Lacks’ genetic materials. At the same time, regrettably, Mrs. Lacks’ Estate and

her family have been unjustly deprived of any form of compensation by Novartis. These lucrative

commercial endeavors were pursued despite the widespread publicity surrounding the origins of

the HeLa cell line. Novartis was fully aware that the HeLa cells were wrongfully obtained from

Mrs. Lacks, yet they consciously opted to exploit her body for their own financial benefit.

       73.     Upon information and belief, due to the confidential nature of Defendants’ drug

development processes, it is highly likely that numerous other drugs were developed using HeLa

cells. This widespread and undisclosed use of HeLa cells has contributed significantly to the

companies’ research and development efforts, resulting in various profitable products that owe

their existence to the unauthorized use of Henrietta Lacks's cells.

       74.     Because of Novartis’ and Viatris’ actions, Henrietta Lacks’ children and

grandchildren have been forced to live with the reality that the living tissue of their mother or

grandmother is exploited for research purposes and profited from by powerful organizations




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against her and her family’s will. This robs the family of one of the most basic comforts any

grieving person can ask for—the knowledge that a loved one’s body has been treated with dignity.

        75.    Beyond this harm, the far-reaching dispersion of Henrietta Lacks’s tissue has

engendered a disquieting reality: the widespread availability of Mrs. Lacks’s genetic

information—and, as a consequence, some of the most private information about Mrs. Lacks and

her family has been exposed to the general public.

        76.    In other words, Novartis’s business is to commercialize Henrietta Lacks’s cells—

her living bodily tissue—without the consent of or providing compensation to Ms. Lacks’s Estate.

All the while, Novartis understands—indeed, acknowledges on its own website—that this genetic

material was stolen from Ms. Lacks. Novartis’s business is nothing more than a perpetuation of

this theft.

                                             COUNT I

                                     For Unjust Enrichment

        77.    Plaintiff incorporates ¶¶1-76 by reference.

        78.    Novartis and Novartis Gene Therapies was, is and will continue to be unjustly

enriched because it received and continues to receive a benefit from Henrietta Lacks every time it

acquires, cultivates, tests, researches, sells, and receives payment from HeLa cells, understood it

receives a benefit from Mrs. Lacks every time it acquires, cultivates, sells, and receives payment

for newly-replicated HeLa cells, and does so in circumstances in which acceptance or retention of

the benefit was, is, and will continue to be inequitable without payment or permission.

        79.    Novartis’s (and Novartis Gene Therapies’s) receipt, cultivation (and continued

cultivation), sale of, and receipt of payment for HeLa cell research was, is, and will continue to be

inequitable without payment or permission because Mrs. Lacks’s cells were obtained through

breach of a relation of trust and confidence. HeLa cells are Mrs. Lacks’s cells, taken by physicians


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in whom she had placed her trust without her consent or knowledge and for no therapeutic purpose.

Nor is there any indication that Novartis intends to stop its unjust cultivation and sale of HeLa

cells.

         80.   Novartis’s (and Novartis Gene Therapies’s) cultivation (and continued cultivation),

sale of, and receipt of payment for HeLa cells was, is, and will continue to be inequitable without

payment or permission because Mrs. Lacks’s cells were obtained through the unlawful conduct

described above.

         81.   Novartis’s receipt, cultivation (and continued cultivation), sale of, and receipt of

payment for HeLa cells in perpetuity was, is, and will continue to be inequitable without payment

or permission because of the totality of circumstances surrounding the acquisition, cultivation, and

sale of HeLa cells.

         82.   Novartis and Novartis Gene Therapies acted with knowledge of the underlying

wrong to Henrietta Lacks or despite a known risk that the conduct in question violated the rights

of Mrs. Lacks. Novartis and Novartis Gene Therapies is thus liable for its net profits achieved as

the fruits of its unjust enrichment.

         83.   Viatris and Mylan Pharmaceuticals were, are and will continue to be unjustly

enriched because it received and continues to receive a benefit from Henrietta Lacks every time it

acquires, cultivates, sells, and receives payment for newly-replicated HeLa cells, understood it

receives a benefit from Mrs. Lacks every time it acquires, cultivates, sells, and receives payment

for newly-replicated HeLa cells, and does so in circumstances in which acceptance or retention of

the benefit was, is, and will continue to be inequitable without payment or permission.

         84.   Viatris and Mylan Pharmaceuticals’s cultivation (and continued cultivation), sale

of, and receipt of payment for HeLa cell research was, is, and will continue to be inequitable




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without payment or permission because Mrs. Lacks’s cells were obtained through breach of a

relation of trust and confidence. HeLa cells are Mrs. Lacks’s cells, taken by physicians in whom

she had placed her trust without her consent or knowledge and for no therapeutic purpose. Nor is

there any indication that Viatris intends to stop its unjust cultivation and sale of HeLa cells.

         85.   Viatris’s cultivation (and continued cultivation), sale of, and receipt of payment for

HeLa cells was, is, and will continue to be inequitable without payment or permission because

Mrs. Lacks’s cells were obtained through the unlawful conduct described above.

         86.   Viatris’s cultivation (and continued cultivation), sale of, and receipt of payment for

HeLa cells in perpetuity was, is, and will continue to be inequitable without payment or permission

because of the totality of circumstances surrounding the acquisition, cultivation, and sale of HeLa

cells.

         87.   Viatris and Mylan Pharmaceuticals acted with knowledge of the underlying wrong

to Henrietta Lacks or despite a known risk that the conduct in question violated the rights of Mrs.

Lacks. Viatris and Mylan Pharmaceuticals are thus liable for its net profits achieved as the fruits

of its unjust enrichment.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests that the Court, after trial on the merits, grant the

following relief and judgment:

         A.    Order Novartis and Viatris to disgorge the full amount of its net profits obtained by

commercializing the HeLa cell line to the Estate of Henrietta Lacks;

         B.    Permanently enjoin Novartis and Viatris from using the HeLa cell line without the

permission of the Estate of Henrietta Lacks;




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       C.      Impose a constructive trust in favor of the Estate of Henrietta Lacks on all HeLa

cells possessed by Novartis and Viatris, and its acquisitions, all related intellectual property, and

all proceeds related to use thereof;

       D.      Award Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Award such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury.

 DATED: August 5th 2024,
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